                        UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION

UNITED STATES OF AMERICA,
                                                         DOCKET NO. 3:18CR229

            V.                                                     ORDER

ERIC PATRICK MARECHAL


       THIS MATTER IS BEFORE THE COURT on Defendant’s Motion for Early

Termination of Supervised Release (Doc. No. 4). The Local Rules of this Court require a

Defendant to inform the Court as to position of the United States Probation Office and the

United States Attorney’s Office on Defendant’s Motion.           Because the Defendant has not

informed the Court as to those Offices’ positions, the Motion for Early Termination is DENIED

withoutIT IS SO ORDERED.
        prejudice.


                                    Signed: September 28, 2021




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